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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   In Re: COOK MEDICAL, INC., IVC FILTERS                Case No. 1:14-ml-2570-RLY-TAB
   MARKETING, SALES PRACTICES AND                        MDL No. 2570
   PRODUCTS LIABILITY LITIGATION


   This Document Relates to All Actions


            FOURTH FIFTH AMENDED CASE MANAGEMENT ORDER NO. 4
       (PARTY PROFILE, FACT SHEET AND CASE CATEGORIZATION PROTOCOL)

         This Order shall govern (1) all cases transferred to this Court by the Judicial Panel on

  Multidistrict Litigation, including those cases identified in the original Transfer Order and those

  subsequently transferred as tag-along actions; and (2) all cases directly filed in or removed to this

  MDL. It is ORDERED as follows:

  1.     Plaintiff Profile Sheets

         a.      The parties have agreed upon the use of a Plaintiff Profile Sheet (“PPS”) (Exhibit

  1), including eight (8) releases, attached to this Order. The PPS shall be completed in each case

  currently pending, and in all cases that become part of this MDL by virtue of being filed in,

  removed to, or transferred to this Court.

         b.      Each Plaintiff in this MDL as of the date of the entry of the Second Amended Case

  Management Order No. 4 (December 16, 2016), shall submit a completed PPS to Defendants

  within sixty (60) days if the Plaintiff has not already provided a complete Plaintiff Profile Form

  (“PPF”) and Plaintiff Fact Sheet (“PFS”) under Case Management Order No. 4 [Dkt. 354] or

  Amended Case Management No. 4 [Dkt. 614]. In cases in which Plaintiffs have not served a

  completed PPF or PFS, each Plaintiff shall submit a completed PPS to Defendants within sixty

  (60) days of the entry (December 16, 2016) of the Second Amended Case Management Order No.
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  4 and, in future filed cases, within thirty (30) days of the case becoming part of this MDL.

  Every Plaintiff is required to provide Defendants with a PPS that is substantially complete in all

  respects, answering every question in the PPS, even if a Plaintiff can answer the question in good

  faith only by indicating “not applicable.” The PPS shall be signed by Plaintiff under penalty of

  perjury. If a Plaintiff brings suit as representative or derivative capacity, the PPS shall be

  completed by the person with the legal authority to represent the estate or person under legal

  disability. Consortium Plaintiffs shall also sign the PPS, attesting that the responses made to the

  loss of consortium claim questions in the PPS are true and correct to the best of his or her

  knowledge, information and belief, formed after due diligence and reasonable inquiry.

         c.      A completed PPS shall be considered interrogatory answers under Fed. R. Civ. P.

  33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

  standards applicable to written discovery under Federal Rules 26 through 37. The interrogatories

  and requests for production in the PPS shall be answered without objection as to the question posed

  in the agreed upon PPS. This section does not prohibit a Plaintiff from withholding or redacting

  information from medical or other records provided with the PPS based upon a recognized

  privilege. If information is withheld or redacted on the basis of privilege, Plaintiff shall provide

  Defendants with a privilege log that complies with CMO No. 10.

         d.      Contemporaneous with the submission of a PPS, each Plaintiff shall provide the

  Defendants with hard copies or electronic files of all medical records in their possession or in the

  possession of their attorneys or other representatives, including, but not limited to, the records that

  support product identification and the alleged injury.

         e.      Contemporaneous with the submission of a PPS, each Plaintiff shall also produce

  signed authorizations, which allow counsel for Defendants to obtain medical, insurance,




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  employment, Medicare/Medicaid, and Social Security records from any healthcare provider,

  hospital, clinic, outpatient treatment center, and/or any other entity, institution, agency or other

  custodian of records identified in the PPS. The signed authorizations shall be undated and the

  recipient line shall be left blank. These blank, signed authorizations constitute permission for

  counsel for the Defendants to obtain the records specified in the authorizations from the records

  custodians. In the event an institution, agency or medical provider to which a signed authorization

  is presented refuses to provide responsive records, Plaintiffs’ counsel shall resolve the issue with

  the institution, agency, or provider, such that the necessary records are promptly provided. Counsel

  for Defendants shall, within twenty (20) days of receipt of any such set of records, provide Plaintiff

  with hard copies or electronic files of all records received and shall invoice Plaintiff for the

  reasonable costs of reproducing hard copies of documents. The invoice shall be paid by Plaintiffs

  within thirty (30) days. If a Plaintiff does not respond to Question VIII.9. of the PPS (which would

  indicate Plaintiff is not pursuing a claim for emotional distress), then Defendants shall not order

  records of psychiatric or psychological treatment, mental health counseling, or other such records

  unless and until a case is moved into the discovery pool.

         f.       Each Plaintiff shall immediately preserve and maintain, without deletions or

  alterations, any content of any personal webpage(s) or social media accounts currently held by

  them, including but not limited to, photographs, text, links, messages and other postings or profile

  information that is relevant to the subject matter of this litigation. “Social media” includes, but it

  not limited to, Facebook, Myspace, LinkedIn, Friendster, and/or blogs. The Plaintiffs shall

  preserve this data by downloading it to a suitable storage device, by printing out copies on paper,

  or by other means consistent with law and court rules applicable to document and data

  preservation.




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         g.      If Defendants receive a PPS in the allotted time but the PPS is not substantially

  complete, Defendants’ counsel shall send deficiency correspondence by e-mail and/or U.S. Mail

  to Plaintiffs’ Lead Counsel and the Plaintiffs’ individual representative counsel, identifying the

  purported deficiencies. Plaintiff shall have twenty (20) days from receipt to serve a PPS that is

  substantially complete in all respects. Defendants’ correspondence shall include sufficient detail

  for the parties to meet and confer regarding the alleged deficiencies. Should a Plaintiff fail to cure

  the deficiencies identified and fail to provide responses that are substantially complete within

  twenty (20) days of service of the deficiency correspondence, Defendants may move for

  appropriate relief under Fed. R. Civ. P. 37. Any such filing shall be served on co-lead counsel for

  the Plaintiffs, with any response to such filing to be submitted within ten (10) business days

  following the date of service. Any such filing should include the efforts the Defendants made to

  meet and confer regarding the alleged deficiencies in the PPS and failure to cure.

         h.      Any Plaintiff who fails to comply with the PPS obligations under this Order may,

  for good cause shown, be subject to sanctions, to be determined by the Court, upon motion of the

  Defendants.

         i.      The PPS shall constitute the initial case-specific discovery response of Plaintiff and

  the Defendants shall not serve on any Plaintiff any further case-specific discovery unless the case

  is chosen as a discovery pool case except by leave of court.

  2.     Case Categorization Forms

         Pursuant to the Court’s Order on the Cook Defendants’ Motion for Screening Order and

  Bellwether Plan (Filing No. 9322) and the Court’s Order Regarding Case Categorization and

  Census (Filing No. 9638) (collectively with this Order, the “Court’s Categorization Orders”) the

  Court ordered Plaintiffs to categorize their cases in Categories Nos. 1-7 and submit specific

  medical records supporting categorization. Pursuant to the Court’s Revised Second Amended


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  Order Regarding Case Categorization Forms (Filing No. 10617): “All Plaintiffs in newly-filed

  actions in this MDL (filed as of May 3, 2019, or later), whether by direct filing of the Complaint

  in this MDL or by transfer into this MDL, must categorize their cases using the form provided

  in Filing No. 9638-1, supported by specific medical documentation, and submit the same to

  the Cook Defendants and Plaintiffs’ Leadership, within 30 days of the filing of the Complaint

  or of the transfer date to this MDL, whichever is applicable.” A copy of the Case Categorization

  Form (“CCF”) is attached hereto as Exhibit 2.

  3.     Evidentiary Submission in Support of Amount-in-Controversy Requirement for
         Subject-Matter Jurisdiction

         The Court entered Case Management Order No. 32 to address potential jurisdictional

  defects in cases filed in or transferred to this MDL consistent with the Seventh Circuit Court’s

  ruling in Sykes v. Cook Inc., 72 F.4th App 195 (7th Cir. 2023). Pursuant to Case Management

  Order No. 32, Plaintiffs are required to certify the amount-in-controversy requirement is met. See

  28 U.S.C. § 1332. Thus, Plaintiffs who commence actions after the entry of Case Management

  Order No. 32 must provide the amount-in-controversy certification form attached as Exhibit 3

  within 30 days of commencement of their actions or of the transfer date to this MDL, whichever

  is applicable, along with the PPS and CCF materials required under this Order. Plaintiffs who

  cannot make this evidentiary submission within 30 days must dismiss their cases without prejudice

  for lack of subject-matter jurisdiction.

  3.4.   Failure to Serve a PPS, or CCF or Amount in Controversy Certification

         If a Plaintiff does not submit a PPS or CCF within the time specified in this Order and the

  Case Management Plan entered by the Court, Defendants may file a Notice of Non-Compliance

  as to the Plaintiff or Plaintiffs that did not comply. Before filing such a Notice, counsel for the

  Defendants shall serve written notice upon Plaintiffs’ Lead Counsel and counsel for the Plaintiff



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  at issue that a PPS or CCF has not been served and a Notice of Non-Compliance may be filed. If

  a PPS or CCF is not submitted within five (5) business days of receiving such written notice,

  Defendants may file the Notice of Non-Compliance. To resolve the deficiency after Defendants

  file a Notice of Non-Compliance, Plaintiff must submit the PPS or CCF to Defendants at

  CookFilterMDL@FaegreDrinker.com. Plaintiffs should not file a response to Defendants’ Notice

  of Non-Compliance. If Plaintiff does not resolve the deficiency within fourteen (14) days of the

  date the Notice of Non-Compliance is filed, Defendants may notify the Court and Plaintiffs will

  be dismissed by the Court pursuant to Federal Rule of Civil Procedure 41 for failure to prosecute

  and for failure to comply with this Court’s Order.

         The noncompliance process outlined above, however, does not apply for failures to submit

  the amount-in-controversy certification form discussed in section 3 above. Failure to make that

  submission will result in dismissal without prejudice immediately upon receiving notice by the

  Cook Defendants of non-compliance.

  4.5.   Defendant Profile Forms

         a.      The Court previously has approved the use of the Defendant Profile Form (“DPF”)

  (Exhibit 34) attached to this Order.

         b.      For each Plaintiff in a currently filed (non-Bellwether) case that is part of the MDL

  as of the December 16, 2016 entry of Second Amended Case Management Order No. 4, the

  Defendants shall comply with the following schedule:

                 1)     The Defendants shall have sixty (60) days from the date of entry of Second

         Amended Case Management Order No. 4 (“date of entry”) to serve a DPF in the one

         hundred (100) oldest non-Bellwether cases pending in the MDL to serve a DPF;

                 2)     One hundred five (105) days from the date of entry to serve a DPF in the

         next one hundred (100) oldest cases;


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                 3)     One hundred fifty (150) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 4)     One hundred eighty (180) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 5)     Two hundred ten (210) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 6)     Two hundred forty (240) days from the date of entry to serve a DPF in the

         next one hundred fifty (150) oldest cases;

                 7)     Two hundred seventy (270) days from the date of entry to serve a DPF in

         the next two hundred (200) oldest cases;

                 8)     Three hundred (300) days from the date of entry to serve a DPF in the

         remaining cases pending at the time of entry; and

                 9)     Once the time for serving DPFs for all cases pending as of the date of entry

         of Second Amended Case Management Order No. 4 has passed, the Defendants shall have

         one hundred twenty (120) days from that point or forty-five (45) days from the service of

         the PPS in each subsequently filed case, whichever is later, to serve their DPF.

         c.      Defendants are required to provide Plaintiffs with a DPF that is substantially

  complete in all respects, answering every question in the DPF, even if Defendant can answer the

  question in good faith only by indicating “not applicable”. The DPF shall be signed by Defendants

  under penalty of perjury. The DPF shall constitute the initial case-specific discovery response of

  the Defendants and no Plaintiff shall serve upon any Defendant discovery that is case-specific

  unless the case is chosen as a discovery pool case except by leave of court.




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          d.      A completed DPF shall be considered interrogatory answers under Fed. R. Civ. P.

  33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

  standards applicable to written discovery under Federal Rules 26-37. The interrogatories and

  requests for production in the DPF shall be answered without objection as to the question posed in

  the agreed upon DPF. This section does not prohibit a Defendant from withholding or redacting

  information provided with the DPF if based upon a recognized privilege. If information is withheld

  or redacted on the basis of privilege, Defendants shall provide Plaintiff with a privilege log that

  complies with CMO 10.

          e.      If a Defendant fails to timely submit a DPF, or submits within the allotted time a

  DPF that is not substantially complete, the Plaintiffs’ lead counsel shall send a deficiency notice

  by e-mail and/or U.S. Mail to counsel for the Defendants, identifying the purported deficiencies.

  This correspondence shall include sufficient detail for the parties to meet and confer regarding the

  alleged deficiencies. Defendants shall have thirty (30) days from receipt of that correspondence to

  serve a DPF that is substantially complete in all respects. Should Defendants fail to cure the

  deficiencies identified and fail to provide responses that are substantially complete within thirty

  (30) days of service of the deficiency correspondence, Plaintiff may move for appropriate relief

  under Fed. R. Civ. P. 37. Any such filing shall be served on co-lead counsel for the Defendants,

  with any response to such filing to be submitted within ten (10) business days following the date

  of service. Any such filing should include the efforts the Plaintiff made to meet and confer

  regarding the alleged deficiencies in the DPF and failure to cure.

     5.        Defendant Fact Sheets

          a.      The parties have agreed upon the use of a Defendant Fact Sheet (“DFS”) (Exhibit

  45), attached to this Order. The DFS shall be completed only in matters that are currently set




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  as part of a Discovery Pool, selected for Bellwether trial, or as directed by separate Order of

  the Court. Defendants are required to provide Plaintiffs with a DFS that is substantially complete

  in all respects, answering every question in the DFS, even if a Defendant can answer the question

  in good faith only by indicating “not applicable.” The DFS shall be signed by Defendants under

  penalty of perjury.

          c.     A completed DFS shall be considered interrogatory answers under Fed. R. Civ. P.

  33 and responses to requests for production under Fed. R. Civ. P. 34, and will be governed by the

  standards applicable to written discovery under Federal Rules 26 through 37. Defendants may

  object to specific requests on proportionality grounds, but these objections must include specific

  information similar to a privilege log.

  5.6.    Failure to Serve a DFS

          a.     In Discovery Pool or Bellwether cases set for trials, Plaintiffs may serve a notice of

  deficiency as outlined above and the parties shall meet and confer within five (5) business days of

  service of the deficiency letter. Plaintiffs may move for any appropriate relief under Federal Rule

  of Civil Procedure 37 but not sooner than ten (10) business days after the meet and confer. Any

  such filing shall be served on Co-Lead Counsel for the subject Defendants, with any response to

  such filing to be submitted within seven (7) business days following the date of service.

          b.     Any Defendant who fails to comply with the DFS obligations under this Order may,

  for good cause shown, be subject to sanctions, to be determined by the Court, upon motion of the

  Plaintiffs.



  SO ORDERED: ______________




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                                      Tim A. Baker
                                      United States Magistrate Judge
                                      Southern District of Indiana




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